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  IN THE UNITED STATES DISTRICT COURT
  FOR THE DISTRICT OF COLORADO


   Civil Action No. 1:20-cv-00742-DDD-KAS

   JAMES COREY GOODE, individually, and GOODE
   ENTERPRISE SOLUTIONS INC.

   Plaintiffs,

   v.

   GAIA, INC., JAY WEIDNER, CLIF HIGH, BENJAMIN
   ZAVODNICK, ALYSSA MONTALBANO, JIRKA
   RYSAVY, BRAD WARKINS AND KIERSTEN MEDVEDICH,

   Defendants.


   ALYSSA CHRYSTIE MONTALBANO, individually,

   Counter-Claimant,

   v.

   JAMES COREY GOODE, individually, and
   GOODE ENTERPRISE SOLUTIONS INC.,

   Counter-Defendants,


   LIGHT WARRIOR LEGAL FUND, LLC;
   DAVID WILCOCK,
   THE    WILCOCK     SPIRITUAL    HEALING          AND
   EMPOWERMENT FOUNDATION
   VALERIE YANAROS WILDE, ELIZABETH LORIE,
   BRIAN JAMES FLYNN, WILLIAM CAMPBELL,
   MATTHEW GROVE, DIANA TERRY, and
   CHRISTINA GOMEZ,

   Third-Party Defendants
  ______________________________________________________________________________
     THIRD-PARTY DEFENDANT ELIZABETH LORIE’S RENEWED MOTION FOR
                     SANCTIONS AGAINST ALYSSA MONTALBANO



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          COMES NOW Third-Party Defendant, Elizabeth Lorie (“Lorie”), and respectfully

  requests this Honorable Court impose sanctions against Counterclaimant Plaintiff Alyssa

  Montalbano (“Montalbano”) and grant Lorie her reasonable attorney’s fees in defending the

  frivolous third-party litigation against her. In support of this Motion, Lorie states and alleges as

  follows:

          Montalbano is a Counterclaimant Plaintiff in the above-captioned case, who named Lorie

  as a third-party Defendant in her almost 500 page pro se Answer and Counterclaims. [Doc. 184].

  Montalbano asserted multiple claims against Lorie, many of which grouped Lorie into an

  “enterprise” Montalbano alleged existed with Lorie and other third-party defendants: (1) RICO;

  (2) fraudulent misrepresentation; (3) violation of the Colorado Consumer Protection Act; (4)

  “frauds and swindles (mail”); (5) “frauds by wire, radio or television”; (6) “enticement into slavery

  human trafficking”; (7) trade secret theft/misappropriation; (8) economic espionage; (9) copyright

  infringement; (10) money laundering; (11) civil conspiracy; (12) extortion; (13) intentional

  intrusion of privacy rights; (14) intentional infliction of emotional distress; (15) negligent infliction

  of emotional distress; and (16) unjust enrichment. Each of the fraud-based claims, which are

  subject to a heightened pleading standard under federal law, were not stated against Lorie with

  particularity. In most instances, Montalbano made generalized references to acts and omissions by

  multiple third-party defendants whom she alleged comprise the “Enterprise.” However,

  Montalbano’s allegations were completely devoid of the necessary factual information to put Lorie

  (or the Court) on notice of the conduct with which Lorie was individually charged.

          Generally speaking, Montalbano alleged Lorie participated in and conspired in actions

  which violated Montalbano’s constitutional rights, without specifying which constitutional rights

  Lorie allegedly violated. Montalbano further alleged and accused Lorie of conspiring in a


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  clandestine human sex trafficking operation by way of using “mind control” tactics, and claimed

  Lorie engaged in extortion and witness tampering. Such allegations are disrespectful of truth and

  accuracy. Lorie is clearly not a state actor, and other of Montalbano’s claims against Lorie

  allegedly arose under statutes which did not provide Montalbano with a private cause of action.

         Lorie filed a Motion to Dismiss on June 23, 2021. The motion to dismiss was referred to

  Magistrate Judge Kristen Mix. Magistrate Judge Mix carefully considered the parties’ briefs and

  attached exhibits, the entire case file, and appliable law before issuing a 61-page Report and

  Recommendation (“R&R”) dismissing every single one of Montalbano’s claims against Lorie with

  prejudice. Montalbano not only filed a Third-Party Complaint containing statements that

  Montalbano knew or reasonably should have known were false, but also filed the Third-Party

  Complaint without any logical purpose but to harass Lorie and the other third-party defendants

  who were similarly successful in obtaining dismissal of the claims asserted against them by

  Montalbano with prejudice. Montalbano continued to engage in conduct deserving reprimand, as

  she subsequently filed a 51-page Objection to the R&R (the “Objection”). [Doc. 290]. In her

  Objection, Montalbano sought leave to file a Third Amended Complaint, even though she had two

  previous opportunities to sufficiently plead her claims. Astonishingly, Montalbano began to file

  proposed amended claims in piecemeal fashion and without court approval.

         In her Objections, Montalbano sought to relitigate some of her dismissed claims against

  Lorie for a third time “under the supervision of Court assigned counsel,” [Doc. 290 at 15], based

  on the same facts and circumstances set forth in her prior pleadings. Her Objection raised the

  identical legal and factual arguments that Magistrate Mix considered and rejected. In doing so,

  Montalbano argues that the arguments were improperly dismissed due to Magistrate Mix’s alleged

  bias in favor of “rich and famous artists” and “licensed attorneys” and that her claims will be



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  properly plead once she corrects “formatting errors.” [Doc. 290 at 26, 30]. For this reason alone,

  one can reasonably conclude that Montalbano’s Objection was undertaken in bad faith for the

  improper purpose to harass Lorie and to delay the inevitable dismissal of her claims by the District

  Court Judge. In her Objection, Montalbano notably abandoned many of the sixteen (16) claims she

  initially asserted against Lorie. The only claims she continued to maintain against Lorie were (1)

  RICO; (2) civil conspiracy; (3) fraudulent misrepresentation; (4) abuse of process; (5) negligent

  infliction of emotional distress; (6) unjust enrichment and (7) CCPA. Although Montalbano

  consented to the dismissal of her fourth, fifth, eighth, eleventh and seventeenth causes of action

  against the third-party defendants (including Lorie), she sought to incorporate the facts alleged in

  support of those claims into her RICO claim, which she argued were improperly dismissed by

  Magistrate Mix. [Doc. 290 at 15].

         Throughout her Objection, Montalbano claimed the District Court must grant her leave to

  further amend her Complaint to “correct complaint formatting errors under the supervision of

  Court appointed counsel”. She also objected to the dismissal of her first, second, third, seventh,

  ninth, tenth, twelfth, and twentieth causes of action “on the basis that Judge Mix failed to properly

  apply the Federal Rules of Evidence concerning presumptions.” [Doc. 345 at 11].

         On February 17, 2023, District Court Judge Daniel Domenico issued a “Order Overruling

  Objections and Adopting Recommendation to Dismiss Counterclaims and Third-Party Claims.”

  [Doc. 345]. In this Order, Judge Domenico overruled Montalbano’s objections to the R&R,

  accepted and adopted Magistrate Mix’s recommendation, dismissed Montalbano’s claims against

  Lorie (and other counterclaimants and third-party defendants), and denied Montalbano’s request

  foe leave to further amend her claims. [Doc. 345 at p.2]. In deciding to overrule Montalbano’s

  objections, District Judge Domenico liberally construed her pleadings. [Doc. 345 at p.5]. In his



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  Order, Judge Domenico disagreed with Montalbano, stating “[t]he Federal Rules of Evidence do

  not apply in this context. Judge Mix properly applied the applicable standard of review.” (Doc.

  283 at 13). [Doc. 345 at 12]. Judge Domenico also found Judge Mix properly “concluded that,

  even if all the facts Ms. Montalbano alleges in connection with Claims One through Three, Six,

  Seven, Nine, Ten, Twelve through Fifteen, and Seventeen through Twenty are true, Ms.

  Montalbano has not stated any claim that would entitle her to any legal remedy, with the exception

  of her defamation claim against Mr. Goode.” [Doc. 345 at.12].

            More specifically, with regards to Montalbano’s RICO claim against Lorie (among others),

  Judge Domenico agreed with Magistrate Mix that the RICO claim was “conclusory and entirely

  unclear with respect to how the actions of these varied persons and entities make up any kind of

  enterprise.” [Doc. 345 at 11, citing Doc. 283 at 24]. Judge Domenico adopted Magistrate Mix’s

  recommendation that Montalbano’s civil conspiracy claim against Lorie be dismissed for similar

  reasons, holding elsewhere in his opinion that “Ms. Montalbano’s allegations are conclusory and

  do not provide a factual basis from which one can draw a reasonable inference that Mr. Goode,

  Goode Enterprise Solutions, Light Warrier Legal Fund, Ms. Yanaros and/or Ms. Lorie conspired

  with each other and/or the third-party defendant judges to accomplish an unlawful act.” [Doc. 345

  at 25].

            Second, with regards to Montalbano’s fraudulent misrepresentation claim against Lorie

  (among others), Judge Domenico noted this claim must be stated with particularity such that the

  pleading affords Lorie fair notice of Montalbano’s claim and the factual ground on which it is

  based. The Judge found Montalbano cannot satisfy her pleading obligations under Rule 9(b) by

  referencing the entirety of her voluminous, 756-numbered paragraph pleading and expecting Lorie

  to “piece together factual averments sufficient to support each of the five elements of fraudulent



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  misrepresentation” as against her individually. [Doc. 345 at 15, citing Doc. 217 at 29-232 and

  Docs. 121-1 to 121-25]. The Court found Montalbano’s approach to be “the antithesis of pleading

  with particularity as required by Rule 9(b).” [Doc. 345 at 15]. With regards to Montalbano’s CCPA

  claim, it, like her claim against Lorie for fraudulent misrepresentation, was dismissed because

  Montalbano did not state the claim with particularity. Judge Domenico overruled Montalbano’s

  objections on the grounds that Montalbano “again expects the defendants (and the Court) to hunt

  for and piece together allegations from the entirety of her voluminous pleading and fails to

  adequately place the movants on notice of the specifics of her CCPA claims.” [Doc. 345 at 16].

         Third, with regards to Montalbano’s claim for human trafficking, which Montalbano

  attempts to revive by citing a Chilean law, Judge Domenico held, “[t]his is just the sort of

  implausible allegation that is so ‘wholly insubstantial or obviously frivolous’ or ‘so patently

  without merit as to require no meaningful consideration’ that it does not justify federal subject-

  matter jurisdiction.” [Doc. 345 at 17]. Even if the Court could find Montalbano’s claims regarding

  remote mind control to somehow be plausible, Judge Domenico found such claims would

  nevertheless be subject to dismissal with prejudice because Montalbano “cites to no legal authority

  from the United States that indicates using mind control to remotely manipulate someone into

  performing labor or services falls within the ambit of 18 U.S.C. §1590(a), which by its text appears

  to be directed at physically recruiting, providing, or obtaining a person.” [Doc. 345 at 18]. In fact,

  as the Court noted, at least one prior federal court case involving allegations of mind control was

  dismissed as “simply too irredeemably bizarre to be able to state a plausible claim under

  Iqbal/Twombly.” [Doc. 345 at 18, n.4].

         Fourth, with regards to Montalbano’s claim for trade secrets, Judge Domenico held this

  claim was properly dismissed by Magistrate Mix because Montalbano “has not taken reasonable



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  measures to maintain the secrecy of her purported trade secrets.” [Doc. 345 at 19-20]. The Court

  highlights the fact that Montalbano’s own admissions in her pleadings confirm she shared her

  dream journals with Mr. Goode “with the expectation that he would share the records with Mr.

  Wilcox and the public” and that she publicly filed an excerpt from her dream journal on at least

  two prior occasions without restricting access to those documents in the court record [Doc. 345 at

  19-20 and n.6].

         Fifth, with regards to Montalbano’s copyright infringement claim, Magistrate Mix

  dismissed this claim on the grounds that it is preempted by the federal Copyright Act and, even if

  her claim was not preempted, her claim nevertheless failed because Montalbano did not allege she

  had a registered right in her dream journal records, and her allegations as to infringement of her

  registered copyright works was “conclusory.” [Doc. 345 at 21]. Fundamentally, Montalbano did

  not object to Magistrate Mix’s findings other than to claim that her copyright infringement claim

  was not preempted. Judge Domenico agreed with Magistrate Mix, holding “the law is clear that

  ‘no person is entitled to any [copyright] right[s] in any…work under the common law or statutes

  of any state.’” [Doc. 345 at 20]. As to the other bases for dismissal in the R&R, Judge Domenico

  reviewed the R&R for clear error on the face of the record, for which he found none.

         Sixth, with regards to Montalbano’s defamation claim against Lorie, Montalbano’s claim

  was dismissed by Magistrate Mix because Montalbano did not allege that Lorie made any

  defamatory statements about Montalbano. [Doc. 345 at 21]. Montalbano did not seek to overrule

  the R&R as to applied to her defamation claim against Lorie. As such, Judge Domenico reviewed

  the R&R for clear error on the face of the record, for which he found none.

         Seventh, with regards to Montalbano’s claim against Lorie for deprivation of civil rights

  against Lorie, Judge Mix dismissed this claim because Montalbano failed to plausibly allege either



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  a due process or an equal-protection violation. [Doc. 345 at 25, citing Doc. 283 at 44-47].

  Montalbano did not address this pleading deficiency as it relates to Lorie in her Objection;

  regardless, her claim was appropriately dismissed because Lorie did not act under color of state

  law in her capacity as a private attorney representing Goode. [Doc. 345 at 26].

         Eighth, with regards to Montalbano’s claim for negligent infliction of emotional distress,

  Judge Domenico adopted Magistrate Mix’s recommendation to dismiss this claim with prejudice

  because Montalbano failed to allege the requisite elements of a claim for negligent infliction of

  emotional distress. Of note, Montalbano did not object to Magistrate Mix’s finding that her

  pleadings did not allege most of the elements of this claim. Montalbano’s Objection claimed only

  that she feared for her safety. [Doc. 345 at 30].

         The arguments and findings summarized above conclusively demonstrate Montalbano’s

  arguments were not only insufficient on their face to withstand a motion to dismiss or to warrant

  overruling the R&R, but, more importantly for this motion, were objectively frivolous. This

  conclusion is buttressed by Judge Domenico’s decision to deny Montalbano’s three motions for

  leave to file a third-amended Answer, Counterclaims and Third-Party Complaint. In that portion

  of his opinion, Judge Domenico found “[j]ustice does not require, or even permit, further

  amendment of Ms. Montalbano’s pleading.” [Doc. 345 at 35]. Accordingly, Montalbano’s actions

  against Lorie in this case rise to the level of sanctionable conduct. Lorie previously requested

  sanctions against Montalbano, which Magistrate Mix recommended be dismissed without

  prejudice because Lorie did not specify the sanctions she sought to have imposed against

  Montalbano or under what legal authority such sanctions could be imposed against Lorie. This

  recommendation was adopted by Judge Domenico. [Doc. 345 at 32]. Lorie now resubmits her

  motion for sanctions against Montalbano.



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         As sanctions, Lorie seeks an award of her full attorney’s fees and costs under Fed. R. Civ.

  P. 11(b)(1). Alternatively, Lorie seeks this sanction pursuant to this Court’s inherent authority to

  impose sanctions for attorney’s fees, costs and expenses to discourage parties from engaging in

  further abuse of the judicial system and to compensate Lorie for having to incur the costs of

  defending such a frivolous suit. Fed. R. Civ. P. 11 requires a party (or her attorneys, if represented

  by one) to conduct a reasonable investigation into the facts that the party believes will support her

  claims, and into the laws she believes will provide her with a legal basis for seeking relief from

  the Court. Under Rule 11, upon presentation to the Court of any paper, the party is certifying that

  to the best of her “knowledge, information and belief, after an inquiry reasonable under the

  circumstances, that:

         (1) It is not being presented for any improper purpose such as to harass or to cause

             unnecessary delay or needless increase in the cost of litigation;

         (2) The claims, defenses, and other legal contentions therein are warranted by existing law

             or a by a nonfrivolous argument for the extension, modification, or reversal of existing

             law or the establishment of new law;

         (3) The allegations and other factual contentions have evidentiary support or, if specifically

             so identified, are likely to have evidentiary support after a reasonable opportunity for

             further investigation or discovery; and

         (4) The denials of factual contentions are warranted on the evidence of, if specifically so

             identified, are based on a lack of information or belief.”

  Fed. R. Civ. P. 11(b). Importantly, “[p]arties who file law suits on a pro se basis must comply with

  the provisions of Rule 11, the same as if they were lawyers.” Weatherspoon v. Miller, 2011 U.S.

  Dist. LEXIS 56647, 2011 WL 2133634 *1 (D Colo. May 25, 2011); Business Guides, Inc. v.



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   Chromatic Communications Enters. Inc., 498 U.S. 533, 545-555 (1991); Trierweiler v. Croxton &

   Trench Holding Corp., 90 F.3d 1523, 1540 (10th Cir. 1996). Rule 11 requires that a “pleading be,

   to the best of the signer’s knowledge, well grounded in fact, warranted by existing law or a good

   faith argument for the extension, modification, or reversal of existing law, and …not interposed

   for any improper purpose.” Coffey v. Healthtrust, Inc., 1 F.3d 1101, 1104 (10th Cir. 1993).

          Similarly, the district court's inherent power to sanction is derived from the court's need

   “to manage [its] own affairs so as to achieve the orderly and expeditious disposition of cases.”

   Chambers v. NASCO, Inc., 501 U.S. 32, 43, 111 S. Ct. 2123, 2132, 115 L.Ed.2d 27 (1991). The

   “inherent power of a court can be invoked even if procedural rules exist which sanction the same

   conduct.” Chambers, 501 U.S. at 46, 111 S. Ct. at 2133; Byrne, 261 F.3d at 1106. Because of its

   very potency, the court must exercise its inherent power with restraint and discretion. Chambers,

   111 S. Ct. at 2132. A primary aspect of that discretion is that ability to fashion an appropriate

   sanction for conduct which abuses the judicial process. Id. at 2132–2133. One component of a

   court's inherent power is the ability to assess attorneys' fees and costs against the client or his

   attorney, or both, when either has “acted in bad faith, vexatiously, wantonly, or for oppressive

   reasons.” Id. at 2133.

          “The key to unlocking a court's inherent power is a finding of bad faith.” Byrne, 261 F.3d

   at 1106; Barnes v. Dalton, 158 F.3d 1212, 1214 (11th Cir.1998); see also Mroz, 65 F.3d at 1575

   (“Invocation of a court's inherent power requires a finding of bad faith.”). Bad faith exists when

   the court finds that a fraud has been practiced upon it, or “that the very temple of justice has been

   defiled,” Chambers, 111 S. Ct. at 2133, or where a party or attorney knowingly or recklessly raises

   a frivolous argument, delays or disrupts the litigation, or hampers the enforcement of a court order.

   Id.



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          As with other types of sanctions, the award of Rule 11 sanctions involves two steps. The

   first step requires the district court to determine that a pleading violates Rule 11. With regard to

   the application of Rule 11 to pro se plaintiffs, this Court has previously held:

          Pro se parties are entitled to have their pleadings reviewed with some measure of liberal
          deference accorded to their status as pro se parties. However, this liberal deference ‘does
          not confer a license to harass others, clog the judicial machinery with meritless litigation,
          and abuse already overloaded court documents.

          The focus of Rule 11 is narrow. ‘It relates to the signing of a document and imposes an
          affirmative duty on each attorney and each party, represented pro se, to conduct a
          reasonable inquiry into the validity and accuracy of a document before it is signed.’ Even
          though pro se litigants may not have the training and resources of an attorney, they
          nevertheless must comply with Rule 11 and make a reasonable inquiry as to whether a
          complaint is well-grounded in fact and warranted by existing law.

          The Tenth Circuit has adopted the view that ‘an attorney’s actions must be objectively
          reasonable in order to avoid Rule 11 sanctions.’ By extension, the actions of pro se parties
          are required to be ‘objective reasonable’ as well.

          A good faith belief in the merit of an argument is not sufficient; the attorney’s [or the
          party’s] belief must also be in accord with what a reasonable, competent attorney would
          believe under the circumstances.

          The standard is one of reasonableness under the circumstances. Under this standard, the
          court must determine what a reasonable person in the pro se litigant’s position would have
          done. ‘Subjective good faith - - that is a pure heart but empty head - - is not defense.’

   Sieverding v. Colo. Bar Ass’n, 02-M-1950(OES), 2003 WL 22400218, 2003 U.S. Dist. LEXIS

   18469 *79-*80 (D. Colo. Oct. 14, 2003)(internal citations omitted), aff’d 126 Fed. Appx 457 (10th

   Cir. Apr. 22, 2005). Second, the district court must impose an appropriate sanction. Adamson v.

   Bowen, 855 F.2d 668, 672 (10th Cir. 1988). Sanctions should punish present litigation abuse, deter

   future litigation abuse, streamline court dockets, and facilitate case management. Merrigan v.

   Affiliated Bankshares of Colorado, Inc., 775 F. Supp. 1408, 1412-1413 (D. Colo. 1991). Both

   factors warranting the imposition of sanctions are present in this case.




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          With regards to the first step in this Court’s two-step analysis, Montalbano not only failed

   to make a reasonable inquiry into the factual and legal bases necessary to properly allege her

   claims, but “had that inquiry thrust upon [her] by others more educated and knowledgeable in the

   law than [her], and [she] deliberately and continuously chose[] to ignore what [she had] been told.”

   Sieverding, 2003 U.S. Dist. LEXIS 18469 at *81-*82. Lorie, through counsel, sent Montalbano

   correspondence alerting Montalbano to the fact that the Third-Party Complaint violated Rule 11.

   Lorie warned Montalbano she would seek the imposition of sanctions if Montalbano did not

   withdraw her claims against Lorie. Exhibit 1. Montalbano refused, which forced Lorie to file a

   motion to dismiss reiterating the pleading defects of which Lorie complained to Montalbano in

   Ex.1. As discussed above, Lorie’s motion to dismiss was successful, and all of Montalbano’s

   objections to the R&R were overruled.

          Montalbano was further warned through motion practice by other third-party defendants

   of the deficiencies in her third-party complaint, but deliberately ignored all reason and continued

   to file voluminous pleadings unsupported by any credible evidence or argument. For example,

   Montalbano’s Response to Lorie’s motion to dismiss did not offer a rational explanation for

   asserting constitutional claims against a non-state actor or for asserting claims against Lorie under

   federal criminal codes. The R&R further clarifies that the Third-Party Complaint against Lorie

   was not well grounded in fact and was not warranted by existing law or a good faith argument for

   its extension. Magistrate Mix determined that good cause existed to deny Montalbano leave to

   further supplement the Third-Party Complaint. The Court held: “Because Ms. Montalbano has

   already amended her pleadings, see Minute Order [various numbers], Ms. Montalbano has

   given the Court no reason to believe any further amendment would raise substantive issues.”




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   (emphasis added). This finding was reiterated by District Judge Domenico, who held justice did

   not require allowing Montalbano to further amend her claims.

          With regard to the second step in the Court’s analysis, sanctions are both necessary and

   appropriate in this case. Similar to the plaintiff in Sieverding, Montalbano is not an ignorant or

   naïve plaintiff. She is not a lay person whose pleadings demonstrate a misunderstanding of the law

   or an innocent misstatement of facts. Montalbano, like the plaintiff in Sieverding, is “harboring an

   obsession with the perceived wrongs of everyone who has had the misfortune of straying into the

   path of [her] pursuit of [her] misguided vision of justice.” Sieverding, 2003 U.S. Dist. LEXIS

   18469 at *87. Montalbano has demonstrated bad faith in her actions by asserting “wild

   accusations” and “brazenly accusing” Lorie “of every manner of crime or corruption.” Id. at *88.

   The R&R and the Court’s Order adopting the same support the reasonable conclusion that

   Montalbano’s claims are so lacking in any legal or factual basis as to have been undertaken for

   some improper purpose. Montalbano attempts to justify her failure to properly and sufficiently

   plead her claims in a 51-page Objection only by repeatedly and in bad faith accusing Magistrate

   Mix of being “biased” and “prejudiced” against poor, pro-se litigants and misreading the

   Complaint. [Doc. 290 at 4]. This wrongful accusation constitutes further evidence of Montalbano’s

   malice and bad faith. It is clear that Montalbano, like the plaintiffs in Sieverding, will not be

   deterred unless and until this Court imposes a substantial monetary sanction upon her.

          Montalbano’s actions have resulted in a significant waste of both the parties’ and the

   Court’s time and resources. As this Court is painfully aware, Montalbano has inundated the parties

   with frivolous, nonsensical and unnecessarily lengthy filings that not only contained irrelevant

   information but, more importantly, disregarded controlling case law. At a minimum, Montalbano

   must be ordered, as a sanction, to pay all legal fees and costs Lorie has incurred to defend herself



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   against Montalbano’s frivolous and baseless claims. Sieverding, 2003 U.S. Dist. LEXIS 18469 at

   *93-*94.

          In determining the amount of a monetary sanction, the court must consider, inter alia, the

   reasonableness of the fees that are sought, the offender’s ability to pay, and any other factors that

   are appropriate under the circumstances, including “the offending party’s history, experience and

   ability, the severity of the violation, the degree to which malice or bad faith contributed to the

   violation and the risk of chilling the type of litigation involved…” White v. GM Corp. 908 F.2d

   675, 684-685 (10th Cir. 1990). In her Motion seeking the appointment of counsel on her behalf

   [Doc. 278], Montalbano represents to the Court that she has “limited financial means” and that a

   $350/hour legal rate is “well beyond [her] budget.” [Doc. 278 at 6, 12]. However, Montalbano has

   not proceeded in forma pauperis in this case, has disposable income, and “has paid any filing fees

   in full….” [Doc. 278 at 6]. Based on the above, Lorie contends Montalbano has the ability to pay.

   For these reasons, Lorie requests a sanction in the amount of her full attorney’s fees and costs.

          Should the Court grant Lorie’s Motion for Sanctions and determine sanctions are due, Lorie

   requests the Court enter an order allowing Lorie to file an affidavit of fees and costs in accordance

   with the requirements of D.Colo.LCivR 54.3. Colo.LCivR 54.3(a) states, “[u]nless otherwise

   ordered, a motion for attorney fees shall be supported by affidavit.” Thus, the rule, by its plain

   language, applies only to motions for attorney fees – not to motions for sanctions seeking attorney

   fees and costs as a sanction. Courts customarily order the filing of fee affidavits after awarding

   fees as a sanction. Graymore, LLC v. Gray, No.06-cv-00638-EWN-CBS, 2007 U.S. Dist. LEXIS

   84481, 2007 WL 4062706, at *6 (D. Colo. Nov. 15, 2007)(“I find Defendant’s failure to support

   his request for fees as a sanction with an affidavit and detailed description of the basis for the fees

   does not render the motion unviable. Of course, the court would require such information to



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   calculate any fees owed, but it does not need the information to determine whether sanctions are

   due.”); O’Rourke v. Dominion Voting Sys. Inc., No.20-cv-03747-NRN, 2021 U.S. Dist. LEXIS

   145664, 2021 WL 3400671, at *323 (D. Colo. Aug. 3, 2021); Carlson v. Town of Mountain Vill.,

   Colorado, No. 17-cv-02887-PAB-STV, 2019 U.S. Dist. LEXIS 193794, 2019 WL 5819971, at *8

   (D. Colo. Nov. 7, 2019). The affidavit, as required, will include a summary of relevant

   qualifications and experience “for each person for whom fees are claimed[.].” Colo.LCivR 54.3(b).

            WHEREFORE, for the foregoing reasons, Third-Party Defendant Elizabeth Lorie

   respectfully requests this Court grant her Motion and award her reasonable attorney’s fees and

   costs.


            Respectfully submitted this 10th day of August, 2023.


                                                ROBINSON & HENRY, P.C.

                                                /s/ Alicia Margaret Reinken
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                                   CERTIFICATE OF SERVICE

           The undersigned certifies that on this 10th day of August, 2023 a true and correct copy of
   the foregoing was electronically filed with the Clerk of the Court, United States District Court for
   the District of Colorado, using the CM/ECF system and was served upon all parties who have
   entered their appearance.


                                                  ROBINSON & HENRY, P.C.

                                             By: /s/ Alicia Margaret Reinken




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